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                                                                                                   United States Bankruptcy Court
                                                                                                       Southern District of Texas

                                                                                                            ENTERED
                           IN THE UNITED STATES BANKRUPTCY COURT                                            June 03, 2025
                                 SOUTHERN DISTRICT OF TEXAS                                             Nathan Ochsner, Clerk
                                      HOUSTON DIVISION

     IN RE:                                                     §       CASE NO. 25-30155
                                                                §
     ALLIANCE FARM AND RANCH, LLC,                              §       (CHAPTER 11)
                                                                §
              DEBTOR                                            §
                                                                §
     IN RE:                                                     §       CASE NO. 25-31937
                                                                §
     ALLIANCE ENERGY PARTNERS, LLC,                             §       (CHAPTER 11)
                                                                §
              DEBTOR                                            §
                                                                §


        ORDER APPROVING (I) GLOBAL SETTLEMENT BETWEEN DEBTORS
      AND ERIK AND DARLA OSTRANDER AND (II) GRANTING RELATED RELIEF

           Upon the motion, (the “Motion”), 1 of Tom A. Howley (“Howley”), in his capacity as the

chapter 11 trustee (the “Trustee”) in the above-numbered and styled bankruptcy proceedings (the

“Chapter 11 Cases”), the Trustee requests (i) authority for the Trustee to enter into a global

settlement between the Debtors and Erik and Darla Ostrander (the “Ostranders”) on the terms set

forth in the settlement agreement (the “Settlement Agreement”) attached to the Motion as Exhibit

2, as well as the agreement set forth in the Motion between the Ostranders and Dustin Etter

(“Etter” and together with the Trustee and Ostranders, collectively, the “Parties” and, each a

“Party”), and (ii) granting related relief, as more fully set forth in the Motion; and the Court having

jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C. §1334;

and consideration of the Motion and the requested relief being a core proceeding pursuant to 28

U.S.C. § 157(b); and it appearing that venue is proper before this Court pursuant to 28 U.S.C. §§



1
    Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Motion.

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1408 and 1409; and due and proper notice of the Motion having been provided, and it appearing

that no other or further notice need be provided; and the Court having reviewed the Motion; and

all objections, if any, to the Motion having been withdrawn, resolved, or overruled; and the Court

having determined that the legal and factual bases set forth in the Motion establish just cause for

the relief granted herein; and it appearing that the relief requested in the Motion is in the best

interest of the Debtors and their respective estates and creditors; and upon all of the proceedings

had before the Court and after due deliberation and sufficient cause appearing,

IT IS HEREBY ORDERED THAT:

       1.      Pursuant to Bankruptcy Rule 9019 and sections 105(a), 362(d) and 363 of the

Bankruptcy Code, the global settlement by and between the Debtors and the Ostranders (the

“Settlement”), on the terms set forth and agreed to in the Settlement Agreement and herein, is

authorized and approved.

       2.      The Trustee is authorized to enter into, execute, deliver, and implement the terms

set forth herein and in the Settlement Agreement, as agreed to by the Parties.

       3.      The Settlement is the product of good faith, arms’ length negotiations between the

Parties and their respective representatives.

       4.      On or before the Settlement Disbursement Date, the Ostranders shall disburse

$1,500,000 (the “AFR Settlement Payment Amount”) to the Trustee in cash by wire transfer

pursuant to instructions to be provided by the Trustee.

       5.      Upon the Trustee’s receipt of the AFR Settlement Payment Amount in immediately

available funds, the Debtors and their chapter 11 estates (together, the “Debtor Releasors”) and

the Ostranders (each of the Debtor Releasors and Ostranders, a “Releasing Party” and,

collectively, the “Releasing Parties”), each on behalf of itself and any other party, person or entity



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claiming under or through it, hereby completely and finally releases, discharges, acquits, and

covenants not to sue (i) each other Releasing Party and its respective current and former agents,

servants, officers, directors, shareholders, employees, subsidiaries, divisions, affiliates, parents,

attorneys, successors, predecessors, heirs, personal representatives, and assigns (each of the

foregoing, including each Releasing Party, a “Released Party”) from all manners of action, causes

of action, judgments, executions, debts, demands, rights, damages, costs, expenses, liens, and

claims of every kind, nature, and character whatsoever, whether in law or in equity, whether based

on contract (including, without limitation, quasi-contract or estoppel), statute, regulatory, tort

(including, without limitation, intentional torts, fraud, misrepresentation, defamation, breaches of

alleged fiduciary duty, recklessness, gross negligence, or negligence) or otherwise, accrued or

unaccrued, known or unknown, matured, unmatured, liquidated or unliquidated, certain or

contingent, that such releasing Party ever had or claimed to have or now has or claims to have,

against any Released Party arising under or related to the Lawsuit, the Wrongful Foreclosure

Claims, the Real Property, or the Personal Property and (ii) each other Releasing Party from any

and all other claims or causes of action arising prior to the entry of this Order. For the avoidance

of doubt, Debtors are not releasing any claims the estate may hold against Jenna Hurley, the Lux

Group, Connect Realty, or their affiliates.

       6.      To the extent the Lawsuit is not already dismissed with prejudice, the Trustee shall

take all necessary steps to ensure that the Lawsuit is dismissed with prejudice and waives any

rights or claims related to the Lawsuit including any rights to revive the Lawsuit.

       7.      Within one (1) business day of the Effective Date, Etter shall cause the Release of

Lis Pendens to be recorded in the real property records of Montgomery County, Texas.




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       8.      To the extent applicable, the automatic stay pursuant to section 362(a) of the

Bankruptcy Code is hereby lifted solely for purposes of implementing the Settlement Agreement.

       9.      The Trustee is authorized to enter into, perform, execute, and deliver all documents,

and take all actions, necessary or appropriate to immediately continue and fully implement the

Settlement and carry out the relief granted in this Order. The Trustee and the Ostranders shall do,

execute, acknowledge and deliver all such further acts, instruments and assurances and take all

such further action as shall be necessary or desirable to fully implement the Settlement, carry out

the relief granted in this Order and fully consummate and effect the transactions provided for in

this Order.

        10.     Except as set forth in this Order, nothing contained in the Motion, this Order, or

any actions taken by the Trustee pursuant to the relief granted in the Order shall be construed as:

(i) an admission as to the validity of any claim against the Debtors, or (ii) a waiver or limitation of

the Debtors’ rights under the Bankruptcy Code or any other applicable law.

        11.     The Trustee and the Ostranders are authorized to take all steps necessary or

appropriate to carry out the relief granted in this Order. To the extent that there is any inconsistency

between the Settlement Agreement and this Order or between the Motion and this Order, the

provisions of this Order will govern.

        12.     The Parties will each be responsible for and pay its own legal fees and out-of-pocket

expenses in connection with the Lawsuit, the Wrongful Foreclosure Claims, and the Chapter 11

Cases of the Debtors pending in the Bankruptcy Court.

        13.     This Order shall be immediately effective and enforceable upon its entry. To the

extent applicable, Rule 6004(h) of the Bankruptcy Rules is waived, and this Order shall be

effective and enforceable immediately upon entry.



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                                                              United States Bankruptcy Court
                                                                Southern District of Texas
In re:                                                                                                                 Case No. 25-30155-arp
ALLIANCE FARM AND RANCH, LLC                                                                                           Chapter 11
Alliance Energy Partners, LLC
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0541-4                                                  User: ADIuser                                                               Page 1 of 3
Date Rcvd: Jun 03, 2025                                               Form ID: pdf002                                                            Total Noticed: 5
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 05, 2025:
Recip ID                   Recipient Name and Address
db                     +   ALLIANCE FARM AND RANCH, LLC, 5450 Honea Egypt Rd, Montgomery, TX 77316-2364
jdb                    +   Alliance Energy Partners, LLC, 20008 Champions Forest Dr., Suite 1203, Spring, TX 77379-8697
aty                    +   Eric Terry, Howley Law PLLC, 700 Louisiana Street, Ste 4545, Houston, TX 77002, UNITED STATES 77002-2869
cr                     +   Patriot Drilling Services LLC, c/o William R. Sudela, Crady Jewett McCulley & Houren LLP, 2727 Allen Parkway, Suite 1700, Houston,
                           TX 77019-2125

TOTAL: 4

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
cr                         Email/Text: lloyd.lim@keanmiller.com
                                                                                        Jun 03 2025 22:27:00      DrilTech, LLC, C/O Rachel Kubanda, 711
                                                                                                                  Louisiana Street, Suite 1800, Houston, TX 77002

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
aty                            Okin Adams Bartlett Curry LLP
cr                             Dustin Etter
intp                           Erik and Darla Ostrander
cr                             KLEIN INDEPENDENT SCHOOL DISTRICT
crcm                           Official Committee of Unsecured Creditors

TOTAL: 5 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 05, 2025                                            Signature:           /s/Gustava Winters
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District/off: 0541-4                                              User: ADIuser                                                          Page 2 of 3
Date Rcvd: Jun 03, 2025                                           Form ID: pdf002                                                       Total Noticed: 5

                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 3, 2025 at the address(es) listed below:
Name                             Email Address
Abdiel Lopez-Castro
                                 on behalf of Creditor Dustin Etter alopezcastro@hwa.com

Branch Masterson Sheppard
                                 on behalf of Defendant Jeana Lea Hurley bsheppard@mcglinchey.com sdeleon@gallowaylawfirm.com

Branch Masterson Sheppard
                                 on behalf of Defendant Connect Realty.com Inc. bsheppard@mcglinchey.com, sdeleon@gallowaylawfirm.com

Branch Masterson Sheppard
                                 on behalf of Defendant Heaven Lee Properties LLC bsheppard@mcglinchey.com, sdeleon@gallowaylawfirm.com

Deborah Louise Crain
                                 on behalf of Defendant Alliance Energy Partners LLC shannon@e-merger.law

Deborah Louise Crain
                                 on behalf of Defendant AE Partners Holdings Inc. shannon@e-merger.law

Deborah Louise Crain
                                 on behalf of Defendant ALLIANCE FARM AND RANCH LLC shannon@e-merger.law

Deborah Louise Crain
                                 on behalf of Defendant AEP Asset Holdings LLC shannon@e-merger.law

Deborah Louise Crain
                                 on behalf of Defendant Jerod P Furr shannon@e-merger.law

Deborah Louise Crain
                                 on behalf of Debtor ALLIANCE FARM AND RANCH LLC shannon@e-merger.law

Deborah Louise Crain
                                 on behalf of Defendant Invictus Drilling Motors LLC shannon@e-merger.law

Deborah Louise Crain
                                 on behalf of Defendant Corina Furr shannon@e-merger.law

Ha Minh Nguyen
                                 on behalf of U.S. Trustee US Trustee ha.nguyen@usdoj.gov

Heather Heath McIntyre
                                 on behalf of Creditor Dustin Etter HMcIntyre@hwallp.com dek@hwallp.com;lslater@hwa.com

James Randal Bays
                                 on behalf of Defendant AE Partners Holdings Inc. randy@baysfirm.com,
                                 Kerry@baysfirm.com;randybays@hotmail.com;Vickie@baysfirm.com

James Randal Bays
                                 on behalf of Defendant Alliance Energy Partners LLC randy@baysfirm.com,
                                 Kerry@baysfirm.com;randybays@hotmail.com;Vickie@baysfirm.com

James Randal Bays
                                 on behalf of Defendant ALLIANCE FARM AND RANCH LLC randy@baysfirm.com,
                                 Kerry@baysfirm.com;randybays@hotmail.com;Vickie@baysfirm.com

James Randal Bays
                                 on behalf of Defendant AEP Asset Holdings LLC randy@baysfirm.com,
                                 Kerry@baysfirm.com;randybays@hotmail.com;Vickie@baysfirm.com

James Randal Bays
                                 on behalf of Defendant Jerod P Furr randy@baysfirm.com Kerry@baysfirm.com;randybays@hotmail.com;Vickie@baysfirm.com

James Randal Bays
                                 on behalf of Defendant Invictus Drilling Motors LLC randy@baysfirm.com,
                                 Kerry@baysfirm.com;randybays@hotmail.com;Vickie@baysfirm.com

James Randal Bays
                                 on behalf of Defendant Corina Furr randy@baysfirm.com Kerry@baysfirm.com;randybays@hotmail.com;Vickie@baysfirm.com

Justin William Randall Renshaw
                                 on behalf of Creditor IAE International Inc justin@renshaw-law.com, kim@renshaw-law.com

Melissa E Valdez
                                 on behalf of Creditor KLEIN INDEPENDENT SCHOOL DISTRICT mvaldez@pbfcm.com
                                 mvaldez@ecf.courtdrive.com;arandermann@pbfcm.com

Nicholas Zugaro
                                 on behalf of Creditor Committee Official Committee of Unsecured Creditors Nzugaro@dykema.com
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District/off: 0541-4                                         User: ADIuser                                                         Page 3 of 3
Date Rcvd: Jun 03, 2025                                      Form ID: pdf002                                                      Total Noticed: 5
                            DocketHOU@dykema.com;ccastic@dykema.com

Noah E Meek
                            on behalf of Plaintiff Dustin Etter nmeek@irelanlaw.com

Noah E Meek
                            on behalf of Interested Party Dustin Etter nmeek@irelanlaw.com

Noah E Meek
                            on behalf of Creditor Dustin Etter nmeek@irelanlaw.com

Rachel Kubanda
                            on behalf of Creditor DrilTech LLC rachel.kubanda@keanmiller.com,
                            michelle.friery@keanmiller.com;kristina.tipton@keanmiller.com;teresa.miller@keanmiller.com

Reagan H. Tres Gibbs, III
                            on behalf of Interested Party Erik and Darla Ostrander tgibbs@cokinoslaw.com kwaller@cokinoslaw.com

Samuel Thomas Pendergast
                            on behalf of Interested Party Erik and Darla Ostrander spendergast@cokinoslaw.com jgraffagnino@cokinoslaw.com

Sara Aniece Morton
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Sara Aniece Morton
                            on behalf of Defendant Connect Realty.com Inc. smorton@rmjelaw.com

Sara Aniece Morton
                            on behalf of Defendant Heaven Lee Properties LLC smorton@rmjelaw.com

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Thomas A Howley
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Timothy L. Wentworth
                            on behalf of Joint Debtor Alliance Energy Partners LLC twentworth@okinadams.com,
                            sgonzales@okinadams.com;nhollon@okinadams.com

Timothy L. Wentworth
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                            sgonzales@okinadams.com;nhollon@okinadams.com

Timothy L. Wentworth
                            on behalf of Debtor Alliance Energy Partners LLC twentworth@okinadams.com,
                            sgonzales@okinadams.com;nhollon@okinadams.com

US Trustee
                            USTPRegion07.HU.ECF@USDOJ.GOV

William James Hotze
                            on behalf of Creditor Committee Official Committee of Unsecured Creditors whotze@dykema.com

William R Sudela
                            on behalf of Creditor Patriot Drilling Services LLC wsudela@cjmhlaw.com


TOTAL: 41
